Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 1 of 52




              EXHIBIT 4
        (Public-Redacted)
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 2 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 3 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 4 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 5 of 52




                          DX0455.004
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 6 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 7 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 8 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 9 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 10 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 11 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 12 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 13 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 14 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 15 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 16 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 17 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 18 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 19 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 20 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 21 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 22 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 23 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 24 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 25 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 26 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 27 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 28 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 29 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 30 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 31 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 32 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 33 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 34 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 35 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 36 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 37 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 38 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 39 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 40 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 41 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 42 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 43 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 44 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 45 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 46 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 47 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 48 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 49 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 50 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 51 of 52
Case 1:20-cv-03010-APM Document 881-5 Filed 04/10/24 Page 52 of 52
